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UNITED STATES OF AMERICA,
Plaintiff,
v.

OSCAR MACHUCA SALMORAN and
DOMINGO PORTILLO PAYAN,

Defendants.

 

 

The Grand Jury charges:

On or about September 3,

 

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

June 2018 Grand Jury

CRC»B.hB- 00541..~§;5©

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[21 U.S.C. §§ 84l{a){l),
(b)(l)(A)(i], (viii): Possession
with Intent to Distribute Heroin
and Methamphetamine

COUNT ONE

2013,

[2l U.S.C. §§ 84l[a)(l), (b)(l}(A)(viii]}

in Los Angeles County, within the

Central District of California, defendant OSCAR MACHUCA SALMORAN
knowingly and intentionally possessed with intent to distribute at
least 50 grams, that is, approximately 916.8 grams, of

methamphetamine, a Schedule II controlled substance.

 

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COUNT TWO
[21 U.s.c. §§ 341(3} (1) , (bJ {1) (A) (i)]

On or about September 3, 2013, in Los Angeles County, within the
Central District of California, defendant OSCAR MACHUCA SALMORAN
knowingly and intentionally possessed with intent to distribute at
least one kilogram, that is, approximately 1,465.72 grams, of a
mixture and substance containing a detectable amount of heroin, a

Schedule I narcotic drug controlled substance.

 

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COUNT THREE
[21 U.s.c. §§ 841(a) (1), (b} (1) (A) (i)]

On or about September 4, 2013, in Los Angeles County, within the
Central District of California, defendant DOMINGO PORTILLO PAYAN
knowingly and intentionally possessed with intent to distribute at
least one kilogram, that is, approximately 2,443.97 grams, of a
mixture and substance containing a detectable amount of heroin, a

Schedule I narcotic drug controlled substance.

A TRUE BILL

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Foreperson

NICOLA T. HANNA
United States Attorney

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LAWRENCE S. MIDDLETON

Assistant United States Attorney
Chief, Criminal Division

FLP.'

BENJAMIN R. BARRON

Assistant United States Attorney
noting Chief, Organized Crime
Drug Enforcement Task Force
Section

SHAWN J. NELSON

Assistant United States Attorney
Acting Deputy Chief, Organized
Crime Drug Enforcement Task Force
Section

KATHY YU

Assistant United States Attorney
Organized Crime Drug Enforcement
Task Force Section

 

